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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                       §
 AMERICA,                                            §
                                                     §
                Plaintiff,                           §
                                                     §    CIVIL CASE NO. 18-cv-566-LEK-CFH
 v.                                                  §
                                                     §
 ANDREW CUOMO, both individually and                 §
 in his official capacity; MARIA T. VULLO,           §
 both individually and in her official               §
 capacity; and THE NEW YORK STATE                    §
 DEPARTMENT OF FINANCIAL                             §
 SERVICES,                                           §
                                                     §
                Defendants.                          §

                                 NOTICE OF APPEARANCE

       Please take note that the undersigned hereby appears as attorney on behalf of Plaintiff the

National Rifle Association of America and that his address and telephone number are set forth

below. Attorney Charles J. Cooper was admitted pro hac vice in this Court on May 21, 2018. He

will appear as co-counsel with William A. Brewer III, Sarah B. Rogers, and Stephanie L. Gase,

who will continue to represent the Plaintiff.


Dated: May 22, 2018                             Respectfully submitted,

                                                s/ Charles J. Cooper
                                                Charles J. Cooper*
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                                                *Admitted Pro Hac Vice
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 22, 2018 I electronically filed the foregoing with the Clerk of

the court using the CM/ECF system, and I hereby certify that I have caused the document to be

mailed by First Class USPS Mail to the following:

Andrew M. Cuomo
Governor of New York State
NYS State Capitol Building
Albany, NY 12224

Maria T. Vullo
Superintendent of Financial Services
New York State Department of Financial Services
One State Street
New York, NY 10004-1511

New York State Department of Financial Services
Office of General Counsel
One State Street
New York, NY 10004-1511



                                             s/ Charles J. Cooper
                                             Charles J. Cooper

                                             Attorney for The National Rifle
                                             Association of America




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